                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:13-00060-2
                                               )   JUDGE SHARP
DENISE COHN                                    )
                                               )

                                            ORDER


         At the sentencing held on November 15, 2013, the Defendant was sentenced to time

served. The judgment will be forthcoming.

         It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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